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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                  Plaintiffs,                               4:13CR3025
     vs.
                                                  MEMORANDUM AND ORDER
JESUS SAMANIEGO-GARCIA,
                  Defendants.


     IT IS ORDERED:

     1)    The motion of attorney John Vanderslice to withdraw as counsel of record
           for defendant Jesus Samaniego-Garcia, (filing no. 33), is granted.

     2)    Defendant’s newly retained counsel, Jason M. Finch, shall promptly notify
           the defendant of the entry of this order.

     3)    The clerk shall delete John Vanderslice from any future ECF notifications
           herein.

     March 27, 2013.
                                               BY THE COURT:
                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
